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         Karl A. Racine                                                       Brian E. Frosh
    Attorney General for the District of                                    Attorney General of Maryland
               Columbia




June 8, 2018

The Honorable Peter J. Messitte
United States District Judge
District of Maryland
6500 Cherrywood Lane
Greenbelt, MD 20770

Via CM/ECF

            Re:       Motions Hearing Scheduled for June 11, 2018
                      The District of Columbia et al. v. Trump, No. 8:17-cv-01596-PJM

Dear Judge Messitte:

       The Court has scheduled a Motions Hearing on the remaining issues raised in the Motion
to Dismiss filed by the President in his official capacity (ECF No. 21) to take place on June 11,
2018. Plaintiffs the District of Columbia and the State of Maryland respectfully propose the
following format for the oral argument:

                     Opening remarks by Defendant
                     Opening remarks by Plaintiffs
                     Defendant’s Argument
                     Plaintiffs’ Argument
                     Closing remarks by Defendant
                     Closing remarks by Plaintiffs

        In addition to ensuring that the Court’s questions for both sides are satisfactorily
addressed, the proposed format will facilitate participation in the argument by counsel from both
the District of Columbia and the State of Maryland.1 Of course, if the Court does not wish to
adopt the structure proposed above, Plaintiffs will proceed in whatever manner the Court wishes.

       Plaintiffs have conferred with the Department of Justice regarding the proposal above.
The Department of Justice defers to the Court with regard to the structure and format of the
hearing.



1
 Plaintiffs anticipate that, similar to the prior Motions Hearing on the pending Motion to
dismiss, under this proposed format the Court would largely address its questions to the
advocates during their respective arguments, rather than during the opening and closing remarks.
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 Sincerely,


THE DISTRICT OF COLUMBIA                        THE STATE OF MARYLAND

KARL A. RACINE                                  BRIAN E. FROSH
Attorney General for the District of Columbia   Attorney General of Maryland

By: /s/ Stephanie E. Litos                      By: /s/ Leah J. Tulin
    Stephanie E. Litos                              Leah J. Tulin
    Senior Counsel to the Attorney General          Assistant Attorney General
